AFFIDAVIT OF SERVICE THROUGH THE SECRETARY OF STATE

UNITED STATES DISTRICT COURT Purchased/Filed: January 20, 2023
FOR THE EASTERN DISTRICT OF NEW YORK index # 23-cv-332

 

 

 

Innovative Sports Management, Inc. d/b/a Integrated Sports Media Plaintiff
against
Jessenia Burgos, et al. Defendant
STATE OF NEW YORK Ss:
COUNTY OF ALBANY ™
Scott Schuster , being duly sworn, deposes and says: deponent is over
the age of eighteen (18) years; that on January 31, 2023 ,at 14:00 AM_, at the office of the

 

Secretary of State of the State of New York in the City of Albany, New York deponent served the annexed

Summons in a Civil Action, Complaint, Civil Cover Sheet, Corporate Disclosure Statement and Notice,

 

Consent, and Reference of a Civil Action to a Magistrate Judge with Notice of Electronic Filing on
Baru Carp. d/b/a Riko Peruvian , the
Defendant in this action, by delivering to and leaving with Nancy Dougherty \

 

AUTHORIZED AGENT in the Office of the Secretary of State, of the State of New York, personally at the Office of
the Secretary of State of the State of New York, 89 Washington Avenue, Albany, NY, 2 true copies thereof and that

at the time of making such service, deponent paid said Secretary of State a fee 40 dollars; That said service was

  
  
     

made pursuant to Section 306 Business Corporation Law, Deponent further says that . the parson

so setved as aforesaid to be the agent In the Office of the Secretary of State of the Staté of New York, dul

   
  

authorized to accept such service on behalf of said defendant

B34"

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Description of the person served: Approx.Age: 55-60 Approx prox. Ht

Color of skin: | White Haircolor: Black Sex: Female

Sworn to before me on this

3ist day of January 2023 Fy

Hep

 

 

HEATHER MORIGERATO ne
NOTARY PUBLIG, STATE OF NEW YORK Scott Schuster
NO. 01M06281464 ec
QUALIFIED IN ALBANY COUNTY : Atiny's File No.

COMMISSION EXPIRES MAY 14, 2024
Invoice-Work Order # S$1887980
